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RAYMOND ORRAND, et al.,
Plaintiffs,
vs. Civil Action 2:96-CV-766
Judge Holschuh

Magistrate Judge King

MAINTENANCE UNLIMITED,
INC.,

Defendant.

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This action. is brought on behalf of the Ohio Operating
Engineers Health and Welfare Plan, Ohio Operating Engineers Pension Fund,
the Ohio Operating Engineers Apprenticeship Fund and the Ohio Operating
Engineers Safety & Education Fund, jointly-administered, multi-employer
fringe benefit programs established for the benefit of employees of
contractors who perform work within the trade jurisdiction. of the
International Union of Operating Engineers, Local Nos. 18, l8A and lSB.
Plaintiff Raymond Orrand is the administrator of the funds.

Asserting claims under ERISA, 29 U.S.C. §1132, and 29 U.S C.
§185 for breach of the collective bargaining agreement, plaintiffs seek

to recover amounts allegedly due the plans from the defendant. This

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matter is now before the Court on plaintiffs' motion for summary
judgment.

Summary judgment is appropriate if the record establishes that
there exists no genuine issue of material fact. Rule 56, F.R. Civ. Pro.
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). The mere
existence of a scintilla of evidence in support of the opposing party's
position will be insufficient; there must be evidence on which the jury
could reasonably find for the opposing party. Anderson, 477 U.S. at 251.
See also Celotex Corp. v. Catrett, 477 U.S. 317 (1986).

The complaint seeks allegedly unpaid contributions relating to
the period January 1, 1990, to December 31, 1995, in the principal amount
of $112,860 54, monthly contributions for unaudited periods beginning
January 1, 1996, interest and costs of collection, including attorneys
fees.

The parties appear to agree that the amounts in dispute relate
to amounts paid employees for work assignments that did not fall into the
category of operating engineen as well as for vacation time. Defendant
opposes the motion for summary judgment on the ground that such amounts
are not properly subject to fringe benefit payments. Moreover, defendant
contends that plaintiffs have failed. to establish "a valid_ signed
contribution agreement covering the time period from 1991 to 1994."
Defendant Maintenance Unlimited, Inc.'s .Memorandunz in Qpposition to
Plaintiffs’ Motion for Summary Judgment, at 10.

Attached to the motion for summary judgment is the affidavit

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of Raymond Orrand, in which he authenticates certain documents attached,
in turn, to his affidavit. Exhibit A (attached to Plaintiffs’ Motion for
Summary' Judgment). Among those documents is a document captioned
"ACCEPTANCE OF AGREEMENT," executed. by M.L. Friscone on behalf of
defendant on January 15, 1990,1 by which Maintenance Unlimited, Inc.,
agreed to

join in, adopt, accept and become a party to the
collective bargaining agreement heretofore made by
the Construction Employers Association with the
International Union of Operating Engineers Local
18, lSA, 18B and 18RA (AFL-CIO) including all of
the provisions therein, and those pertaining to
contributions to Trust Funds providing for Health
& Welfare, Pension, Apprenticeship, Training, or
any other fringe benefits and agree to be bound by
any Trust Agreement hereafter entered into between
these parties and agrees to make contributions as
required and authorizes these parties to name the
Trustees to administer said funds and ratifies and
accepts such Trustees in the terms and conditions
of the Trusts as if made by the undersigned.

Plaintiffs have therefore adduced evidence that defendant is a signatory
to a written agreement by which defendant became bound to pay
contributions to the employee benefit welfare plans.2 Defendant has

failed to proffer any evidence controverting the evidence presented by

 

1Mary Friscone identified her signature on this document. Deposition of
Mary Friscone, at 11-12 (attached to Plaintiffs' Reply in Support of
Plaintiffs' Motion for Summary Judgment).

2Defendant also argues that it is prohibited, under the Labor Management
Relations Act, 29 U.S.C. §186(c)(5)(B), from paying any money to the fringe
benefit plan absent a written agreement, The evidence adduced by the
plaintiffs establishes that there exists a written agreement to which the
defendant is bound. See National Leadburners Health and Welfare Fund, etc. v.
O.G. Kelley & Company, Inc., 129 F.3d 372 (6th Cir. 1997).

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plaintiffs or tending to establish that the agreement entered into by it
is no longer in effect.

Defendant also contends that the contributions sought are not
contemplated by the parties' agreement, The parties agree that the
pertinent language of the agreement requires that fringe benefit
contributions are to be

paid ... for all hours paid to each employee by

the Employer under this Agreement which shall in no

way be considered or used in the determination of

overtime pay. Hours paid shall include Holidays

and reporting hours which are paid.

Construction Employers Association Building Agreement, I38, at p.18
(attached as Exhibit B to Defendant .Maintenance Unlimited, Inc.'s
Memorandum in Qpposition to Plaintiffs' Motion for Summary Judgment, and
as Exhibit A to Plaintiffs' Motion for Summary Judgment). According to
defendant, some of the wages paid its employees are for work performed,
(particularly during the winter months when outside work is impossible),
to employees who are kept on the payroll "in non-operating engineering
capacities." Defendant Rwintenance Unlimited, Inc.'s Memorandum in
Qpposition to Plaintiffs' Motion for Summary Judgment, at 5. Moreover,
defendant contends that it is not obligated to pay fringe benefits in
connection with vacation pay paid to any of its employees. Defendant's
construction of the parties' agreement has been rejected by more than one
court, including this Court. See Operating Engineers Pension Trust v.

A-C Co., 859 F.2d 1336 (9th Cir. 1988); Noe v. R.D. Jones Excavating,

Inc., 787 F.Supp. 759 (S.D. Ohio 1992). Both of these cases stand for

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the proposition that a signatory employer is required to pay fringe
benefits in connection with all hours worked and paid, even for non-
covered hours. This "prophylactic rule" is designed to alleviate the
unnecessary and undue burden of having to investigate the accuracy of an
employer's records regarding assigned duties. This Court agrees and
concludes that the record reflects no disputed issue of material fact.
Plaintiffs are therefore entitled to summary judgment.

Plaintiffs are hereby AWARDED recovery of delinquent fringe
benefit contributions in the principal amount $112,860.54, interest under
29 U.S C. §1132(g)(2)(B) in the amount of $92,511.88 from October 15,
1997, plus $55.66 per day thereafter for so long as the delinquency
remains unpaid, additional interest under 29 U.S.C. §1132(g)(2)(C) in the
amount of $92,511.88 from October 15, 1997 so long as the delinquency
remains unpaid, and the costs of collection, including attorneys fees and
court costs under 29 U.S.C. §1132(g)(2)(D).

IT IS SO ORDERED.

    
 

John D. Holschuh, Judge
ited States District Court

